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                          UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                           WESTERN DISTRICT OF KENTUCKY

IN RE:                                         )
                                               )
Gene A. Shy                                    )   CASE NO. 14-11216 (1) (7)
                                               )
                             Debtor(s)         )



                                            ORDER

         The above Chapter 7 case came before the Court on October 17, 2019 in Bowling Green,

Kentucky before the Honorable Joan A. Lloyd for a Hearing on the Motion to Amend #25 Order

Granting Motion to Avoid Lien filed by Creditor, New Falls Corporation. The Court having

considered statements of counsel and being otherwise sufficiently advised,

         IT IS HEREBY ORDERED that the response deadline for the Debtor is twenty-one (21)

days, November 7, 2019,

         IT IS HEREBY FURTHER ORDERED that the Creditor’s deadline to file a reply to

Debtor’s response is December 2, 2019.

         IT IS HEREBY FURTHER ORDERED that the Court will take this matter under

SUBMISSION upon the expiration of all deadlines.



kg

                                                           Dated: October 18, 2019
